Filed 09/10/19
         Fill in this information to identify the case:
                                                                            Case 15-91228                                                                   Doc
          B 10 (Supplement 2) (12/11)            (post publication draft)
            Debtor 1              Brad Christopher Oliver
                                  __________________________________________________________________

            Debtor 2               ________________________________________________________________
            (Spouse, if filing)

                                                    Eastern
            United States Bankruptcy Court for the: ______________________             CA
                                                                           District of __________
                                                                                        (State)
            Case number            15-91228
                                   ___________________________________________




          Form 4100R
          Response to Notice of Final Cure Payment                                                                                                 10/15

          According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



           Part 1:          Mortgage Information


                                             Chalet Properties III, LLC                                                 Court claim no. (if known):
            Name of creditor:                ______________________________________                                     2
                                                                                                                        _________________
                                                                                                  0398____ ____ ____
                                                                                                  ____
            Last 4 digits of any number you use to identify the debtor’s account:

            Property address:                766 Del Sol CT
                                             ________________________________________________
                                             Number     Street

                                             _______________________________________________

                                             Ceres, CA 95307
                                             ________________________________________________
                                             City                        State    ZIP Code



           Part 2:          Prepetition Default Payments

             Check one:

             
             X     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
                   on the creditor’s claim.

                  Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
                   on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
                   of this response is:


           Part 3:          Postpetition Mortgage Payment

             Check one:

             
             X     Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
                   the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

                   The next postpetition payment from the debtor(s) is due on:              10    01 2019
                                                                                            ____/_____/______
                                                                                            MM / DD    / YYYY

                  Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
                   of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
                   Creditor asserts that the total amount remaining unpaid as of the date of this response is:
                   a. Total postpetition ongoing payments due:                                                                         (a)   $ __________
                   b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)   $ __________

                   c. Total. Add lines a and b.                                                                                        (c)   $ __________
                   Creditor asserts that the debtor(s) are contractually
                   obligated for the postpetition payment(s) that first became              ____/_____/______
                   due on:                                                                  MM / DD / YYYY


          Form 4100R                                                  Response to Notice of Final Cure Payment                                    page 1
Filed 09/10/19                                                                Case 15-91228                                                                        Doc


       Debtor 1        Brad Christopher Oliver
                       _______________________________________________________                                             15-91228
                                                                                                    Case number (if known) _____________________________________
                       First Name      Middle Name              Last Name




        Part 4:       Itemized Payment History


         If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
         debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
         the creditor must attach an itemized payment history disclosing the following amounts from the date of the
         bankruptcy filing through the date of this response:
          all payments received;
          all fees, costs, escrow, and expenses assessed to the mortgage; and
          all amounts the creditor contends remain unpaid.




        Part 5:       Sign Here


         The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
         proof of claim.

         Check the appropriate box::

               I am the creditor.
         
         X      I am the creditor’s authorized agent.



        I declare under penalty of perjury that the information provided in this response is true and correct
        to the best of my knowledge, information, and reasonable belief.
        Sign and print your name and your title, if any, and state your address and telephone number if different
        from the notice address listed on the proof of claim to which this response applies.




                       /s/ Kristin Zilberstein
                          __________________________________________________
                          Signature
                                                                                                    Date    9    10 2019
                                                                                                            ____/_____/________




        Print              Kristin Zilberstein
                          _________________________________________________________                 Title   Authorized Agent
                                                                                                            ___________________________________
                          First Name                      Middle Name        Last Name




        Company           Ghidotti | Berger LLP
                          _________________________________________________________



        If different from the notice address listed on the proof of claim to which this response applies:



        Address           1920 Old Tustin Ave.
                          _________________________________________________________
                          Number                 Street


                          Santa Ana                   CA               92705
                          ___________________________________________________
                          City                                               State       ZIP Code




        Contact phone      949
                          (______) 427 _________
                                   _____– 2010                                                            kzilberstein@ghidottiberger.com
                                                                                                    Email ________________________




       Form 4100R                                                       Response to Notice of Final Cure Payment                                       page 2
